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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

                                                   )   Criminal No. 21cr10256
 UNITED STATES OF AMERICA                          )
                                                   )   Violations:
               v.                                  )
                                                   )   Count One: Conspiracy to Violate the Anti-
 (1) KINGSLEY R. CHIN,                             )   Kickback Statute
 (2) ADITYA HUMAD, and                             )   (18 U.S.C. § 371)
 (3) SPINEFRONTIER, INC.,                          )
                                                   )   Counts Two through Seven: Violations of the
                       Defendants                  )   Anti-Kickback Statute
                                                   )   (42 U.S.C. § 1320a-7b(b)(2))
                                                   )
                                                   )   Count Eight: Conspiracy to Commit Money
                                                   )   Laundering
                                                   )   (18 U.S.C. § 1956(h))
                                                   )
                                                   )   Forfeiture Allegations:
                                                   )   (18 U.S.C. §§ 982(a)(1) & 982(a)(7))

                                        INDICTMENT

       At times relevant to this Indictment:

                                      General Allegations

                                         The Defendants

       1.     Defendant Kingsley R. CHIN, MD was a Florida resident, and the founder,

principal owner, President, Chief Executive Officer, and a Director of SPINEFRONTIER, INC.

       2.     Defendant Aditya S. HUMAD was a Massachusetts resident, and

SPINEFRONTIER’s Chief Financial Officer and Vice President of Business Development.

       3.     Defendant SPINEFRONTIER, INC. was a Delaware corporation with a principal

place of business at 350 Main Street, Malden, Massachusetts 02148. SPINEFRONTIER


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designed, manufactured, marketed, and sold spinal medical products, including in the District of

Massachusetts.     Surgeons used these products in spine surgeries that Federal health care

programs paid for throughout the United States.

                                  Impartial Medical Expert, LLC

       4.      Impartial Medical Expert, LLC (IME) was a Delaware corporation that identified

its business address as 3296 N. Federal Highway #11631, Fort Lauderdale, Florida, which was a

post office box.   Beginning in or around approximately October 2013, IME purported to

manage the process pursuant to which SPINEFRONTIER’s surgeons submitted hours and

received payments from or on behalf of SPINEFRONTIER for purported consulting. CHIN

was the principal owner of IME.

                   Co-Conspirator Surgeons & The Co-Conspirator Distributor

       5.      Surgeon 1, Dr. Jason Montone, was a spine surgeon who practiced medicine in

Missouri and Kansas and used SpineFrontier products in spine surgeries.

       6.      Surgeon 2 was a spine surgeon who practiced medicine in Ohio and used

SpineFrontier products in spine surgeries.

       7.      Surgeon 3 was a spine surgeon who practiced medicine in New York and used

SpineFrontier products in spine surgeries.

       8.      Surgeon 4 was a neurosurgeon who practiced medicine in Ohio and used

SpineFrontier products in spine surgeries.

       9.      Surgeon 5 was a spine surgeon who practiced medicine in Illinois and Florida and

used SpineFrontier products in spine surgeries.


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       10.     Surgeon 6 was a spine surgeon who practiced medicine in Texas and used

SpineFrontier products in spine surgeries.

       11.     Surgeon 7 was a spine surgeon who practiced medicine in Colorado and used

SpineFrontier products in spine surgeries.

       12.     John Balzer, Distributor 1, was the owner and operator of a distribution company,

BIOinnovations LLC, who distributed SPINEFRONTIER products in Kansas and Missouri and

worked with Surgeon 1.

                             The Medicare and Medicaid Programs

       13.     Medicare is a federally funded health care program that provides benefits to

individuals who are sixty-five years of age or older or disabled. Medicare is subdivided into

multiple Parts. Medicare Part A covers health services provided by hospitals, skilled nursing

facilities, hospices, and home health agencies. Medicare Part B covers physician services and

outpatient care.

       14.     The Centers for Medicare and Medicaid Services (CMS), a federal agency under

the United States Department of Health and Human Services, administers Medicare.

Individuals who qualify for Medicare benefits are commonly referred to as Medicare

“beneficiaries.”

       15.     Medicaid is a jointly funded federal and state health care program that provides

certain health benefits to the disabled, as well as to individuals and families with low incomes

and resources. At the federal level, CMS administers Medicaid. CMS is responsible for

overseeing the Medicaid program in participating states, including Massachusetts and Missouri.


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Individuals who qualify for Medicaid benefits are commonly referred to as Medicaid

“beneficiaries.”

       16.     Medicare and Medicaid are each a “health care benefit program” within the

meaning of 18 U.S.C. § 24(b), and each is a “Federal health care program” as defined by 42

U.S.C. § 1320a-7b(f), the federal Anti-Kickback Statute (AKS).

                                            TRICARE

       17.     TRICARE is a health care program administered by the Defense Health Agency

in the Department of Defense.    10 U.S.C. §§ 1071-1110b.      TRICARE provides health care

insurance for active-duty military personnel, military retirees, and military dependents.

       18.     TRICARE is a “health care benefit program” within the meaning of 18 U.S.C.

§ 24(b) and is a “Federal health care program” as defined by the AKS.

                                 Veterans Health Administration

       19.     The Veterans Health Administration (VHA) is a health care program administered

by the Department of Veterans Affairs. 38 U.S.C. §§ 1701-1788. VHA provides health care

for veterans and certain family members.

       20.     VHA is a “health care benefit program” within the meaning of 18 U.S.C. § 24(b)

and is a “Federal health care program” for purposes of the AKS.

                                         The Sunshine Act

       21.     As of March 31, 2013, the Physician Payments Sunshine Act, 42 U.S.C. § 1320a-

7h(a)(1)(A), required medical product manufacturers, such as SPINEFRONTIER, to disclose to

CMS any payment or transfer of value made to a physician, including surgeons, or a hospital, as


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well as any physician ownership or investment in the covered manufacturer.

                    Background on Spine Surgeries and Their Reimbursement

       22.     Often, there were two types of payments and reimbursements associated with

spine surgeries: one for the costs of the surgical procedure, and the other for the skilled labor

provided by the surgeon.

       23.     Hospitals and surgical centers where surgeons perform spine surgeries typically

submitted a bill to a patient and a claim for reimbursement to an insurance carrier, including

Federal health care programs, for the costs associated with a surgery, including the costs of

spinal products used during procedures.

       24.     Surgeons typically submitted, or caused to be submitted, a separate bill to patients

and a claim to an insurance carrier, including Federal health care programs, for the surgeons’

services rendered during the surgical procedure.

       25.     Spinal implant devices such as screws, rods, cages, and plates were often kept in

trays or kits that were held on a consignment basis at a hospital or surgical center. The costs of

spinal implants could be significant. The prices of SPINEFRONTIER’s products varied,

ranging from hundreds to thousands of dollars.

       26.     When a surgeon selected and used a specific spinal implant in a surgery, the

hospital or surgical center ordered a replenishment implant and paid the implant manufacturer

for the implant used in the procedure. Often, a hospital or surgical center sent replenishment

orders to an implant manufacturer like SPINEFRONTIER on a surgery-by-surgery basis so that

the kits or trays from which the surgeon used the implant are complete and ready to be used in a


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future surgery.

                               Object and Purpose of the Conspiracy

       27.        The object of the conspiracy was to pay bribes in connection with the use of

SPINEFRONTIER products in health care services reimbursed in whole or in part by Federal

health care programs, including Medicare, Medicaid, TRICARE, and VHA.

       28.        The purpose of the conspiracy was for CHIN, HUMAD, SPINEFRONTIER, and

their co-conspirators, known and unknown to the Grand Jury, to enrich themselves.

                                    Overview of the Conspiracy

       29.        Between in or about late 2012 and at least in or about June 2019, CHIN,

HUMAD, SPINEFRONTIER, and their co-conspirators paid and directed the payment of

millions of dollars in bribes to surgeons, including Surgeons 1-7, pursuant to a sham consulting

program that paid those surgeons between approximately $250 and $1,000 for each hour the

surgeon supposedly spent performing consulting services.

       30.        Surgeons 1-7 participated in SPINEFRONTIER’s sham consulting program by

accepting payments for purported consulting work they did not in fact perform. Rather, they

accepted these sham consulting payments as a bribe and reward for their continued selection and

usage of SPINEFRONTIER products.

       31.        During the course of the conspiracy, CHIN, HUMAD, and SPINEFRONTIER

conspired to pay significant amounts of money in sham consulting payments, including millions

of dollars in sham payments to Surgeons 1-7, in exchange for their using SPINEFRONTIER

products.


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       32.     Although SPINEFRONTIER’s surgeon-consulting program was purportedly

directed at gathering from surgeons technical feedback about SPINEFRONTIER’s products,

CHIN and HUMAD in fact designed and used the program, and the bribes they paid to surgeons,

as a vehicle to induce those surgeons to order and use SPINEFRONTIER’s products, and to

reward their selection and use of SPINEFRONTIER’s products, in surgeries paid for entirely or

in part by health care benefit programs, including Federal health care programs such as

Medicare, Medicaid, TRICARE, and VHA.

       33.     During the course of the conspiracy, CHIN, HUMAD, SPINEFRONTIER, and

their co-conspirators paid surgeons as if the surgeons had spent hundreds of hours evaluating

products, discussing industry trends, and educating medical residents, when they had not.

       34.     In fact, multiple surgeons, including Surgeons 1-7, frequently spent only a small

fraction of their reported time, if any at all, performing actual consulting activities for

SPINEFRONTIER. Instead, on numerous occasions, HUMAD determined the amount of bribes

SPINEFRONTIER would pay surgeons by reviewing how many surgeries the surgeons

performed using SPINEFRONTIER’s products and how much revenue those surgeries generated

for SPINEFRONTIER.




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       35.     During the course of the conspiracy, CHIN, HUMAD, SPINEFRONTIER and

their co-conspirators paid, at least, the following bribe amounts:

                             Surgeon      Approximate Amount Paid
                            Surgeon 1               $379,719
                            Surgeon 2               $255,025
                            Surgeon 3               $125,288
                            Surgeon 4                $61,037
                            Surgeon 5                $35,625
                            Surgeon 6               $911,938
                            Surgeon 7               $978,831
                              Total:               $2,747,463


     36.       SPINEFRONTIER received millions in net revenue from the sales of its products

used by Surgeons 1-7.

                             Manner and Means of the Conspiracy

     37.       Among the manner and means by which CHIN, HUMAD, SPINEFRONTIER,

and co-conspirators known and unknown to the Grand Jury carried out the conspiracy were the

following:

               a.       Paying surgeons, including Surgeons 1-7, to serve as sham consultants;

               b.       Paying surgeons, including Surgeons 1-7, to use SPINEFRONTIER

       products in services provided to patients reimbursed in whole or in part by Federal health

       care programs, including Medicare, Medicaid, TRICARE, and VHA;

               c.       Holding out IME as a separate and independent entity from

       SPINEFRONTIER, despite the fact that IME was not independent and was in fact owned

       and controlled by CHIN and operated by HUMAD and others, in part to evade Sunshine
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Act reporting obligations;

       d.      Using IME as a vehicle to funnel bribe payments to surgeons, including

Surgeons 1-7, and to conceal the true nature of the relationship between

SPINEFRONTIER and those surgeons;

       e.      Directing surgeons, including Surgeons 1-7, to bill SPINEFRONTIER, via

IME, for purported consulting hours based not on time spent consulting, but on the

number and type of surgeries the surgeon performed, including surgeries paid for by

Federal health care programs;

       f.      Selecting surgeons, including Surgeons 1-7, to participate in the

SPINEFRONTIER consulting program based not on their background, qualifications,

education, and experience, but instead on their ability and willingness to use

SPINEFRONTIER’s products in their surgeries, including surgeries paid for in whole or

in party by Federal health care programs;

       g.      Adjusting the amount of the bribe based upon the type of procedure

performed by the surgeons, including Surgeons 1-7;

       h.      Adjusting the amount of the bribe based upon the number of procedures

performed by the surgeons, including Surgeons 1-7;

       i.      Paying surgeons, including Surgeons 1-7, for reported consulting hours

despite the sham nature of those reported hours;

       j.      Creating records and documents, including purportedly legitimate

contracts, designed to make the sham consulting program appear legitimate;


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              k.      Misrepresenting, concealing, and hiding acts performed in furtherance of

       the conspiracy.

                         Overt Acts in Furtherance of the Conspiracy

       38.    From in or about 2012 through at least in or about June 2019, CHIN, HUMAD,

SPINEFRONTIER, and co-conspirators known and unknown to the Grand Jury committed and

caused to be committed the following overt acts, among others, in furtherance of the conspiracy:

              a.      Chin informed Surgeon 1 that the more products Surgeon 1 used across

different SPINEFRONTIER product lines, the better Surgeon 1’s financial opportunities would

be.

              b.      On or about March 11, 2013, HUMAD sent an email to Surgeon 1, copied

to CHIN, and attached a Clinical Advisor / Consulting Agreement that stated Surgeon 1 could

bill SPINEFRONTIER up to 600 hours and $300,000 annually based on Surgeon 1’s “increased

interest and availability for feedback on several” SPINEFRONTIER products.      CHIN

responded to HUMAD: “Thxs.”

              c.      CHIN and HUMAD each told Surgeon 2 that, pursuant to his agreement

with IME, he was to log his hours as one hour for each cervical surgery, and two hours for each

lumbar surgery in the online portal administered by IME.   CHIN and HUMAD explained to

Surgeon 2 that he was “evaluating” SPINEFRONTIER’s products by using them in surgery,

notwithstanding that Surgeon 2’s written contract with IME expressly stated that he would not be

paid for hours spent performing surgery.




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               d.      HUMAD told Surgeon 3 that SPINEFRONTIER would approve more of

Surgeon 3’s submitted consulting hours if he used more expensive SPINEFRONTIER products.

               e.      HUMAD told Surgeon 4 that he could submit one to one and a half hours

for every cervical construct evaluation and two hours for every lumbar construct evaluation.

HUMAD told Surgeon 4 that SPINEFRONTIER would pay him each time he used

SPINEFRONTIER’s products: one amount for cervical products, and another amount for lumbar

products.

               f.      HUMAD had a conversation with Surgeon 4 in which HUMAD informed

Surgeon 4 that if Surgeon 4 used more of SPINEFRONTIER’s products, then SPINEFRONTIER

could pay him more money.

               g.      On or about September 13, 2015, CHIN emailed HUMAD and others and

stated, in part, “I want to show this to the CAB [Clinical Advisory Board] to them [sic] hear what

they think about us setting these targets for them to hit and show how each target number could

translate into IME monthly consulting fees as a reward.” In that same email, CHIN also stated

“[e]ach surgeon has the ability to find us at least $25K per week that is better than trying to raise

money.”

               h.      On or about September 14, 2015, HUMAD forwarded CHIN’s email to an

employee and directed her to compile the information requested in CHIN’s September 13, 2015

email. HUMAD stated, “Pls see me in my office first thing this morning to discuss the report

below if any questions – need done by noon[.]”




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              i.      HUMAD had a conversation with Surgeon 5 in which HUMAD informed

Surgeon 5 that SPINEFRONTIER would compensate him based on the number and type of

surgeries Surgeon 5 performed with SPINEFRONTIER’s products. At no time did HUMAD,

CHIN, or anyone else from SPINEFRRONTIER ask Surgeon 5 how much time he had spent

consulting.

              j.      By at least on or about the following dates, Surgeons 1-7 entered into sham

consulting agreements with SPINEFRONTIER, through IME, in addition to other pre-existing

sham direct consulting agreements with SPINEFRONTIER:

                   Overt Act   Surgeon       Date of IME Written Contract
                      k.       Surgeon 1           December 1, 2013
                      l.       Surgeon 2      Late 2013 (contract undated)
                      m.       Surgeon 3           February 27, 2013
                      n.       Surgeon 4              June 1, 2014
                      o.       Surgeon 5            October 17, 2013
                      p.       Surgeon 6              April 20, 2014
                      q.       Surgeon 7              April 1, 2014

              r.      On or about the following dates, among others, the surgeon listed below

submitted, or caused to be submitted, a request for payment to SPINEFRONTIER, directly and

through IME, for consulting hours purportedly worked. As a result, CHIN, HUMAD and

SPINEFRONTIER, directly and through IME, paid or caused to be paid bribes to the surgeons,

and during the same period, the surgeons performed a procedure reimbursed in whole or in part

by a Federal health care program:




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Overt    Surgeon       Service Period                Request for      Federal Health Care
 Act                                                  Payment              Program
  s.     Surgeon 1     May 1, 2013 –                June 15, 2013          Medicare
                        June 15, 2013
 t.      Surgeon 2     June 1, 2015 –                July 7, 2015          Medicare
                        June 30, 2015
 u.      Surgeon 3    March 1, 2016 –               April 7, 2016            VHA
                       March 31, 2016
 v.      Surgeon 4     June 1, 2015 –                July 1, 2015          Medicare
                        June 30, 2015
 w.      Surgeon 5    October 1, 2015 –                                    Medicare
                                                  November 24, 2015
                      October 31, 2015
 x.      Surgeon 6   December 1, 2018 –            January 1, 2019         Medicare
                     December 31, 2018
 y.      Surgeon 7   April 1, 2016 – April           May 3, 2016           Medicare
                           30, 2016




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                                         COUNT ONE
                         Conspiracy to Violate the Anti-Kickback Statute
                                       (18 U.S.C. § 371)

The Grand Jury charges:

       39.     The Grand Jury re-alleges and incorporates by reference paragraphs 1-38 of this

Indictment.

       40.     Between at least in or about late 2012 and at least in or about June 2019, in the

District of Massachusetts and elsewhere, the defendants

                                       (1) KINGSLEY R. CHIN,
                                      (2) ADITYA HUMAD, and
                                     (3) SPINEFRONTIER, INC.,

conspired with each other and with others known and unknown to the Grand Jury to commit an

offense against the United States, to wit, violation of the Anti-Kickback Statute, 42 U.S.C.

§§ 1320a-7b(b)(2), that is, to knowingly and willfully offer and pay remuneration, directly and

indirectly, overtly and covertly, in cash or in kind, that is, bribes, to induce the purchase of, lease

of, order of, arranging for use of, or recommendation of goods, services, and items, namely,

SPINEFRONTIER spinal implants and products, for which payment may be made in whole or in

part by a Federal health care program.

       All in violation of Title 18, United States Code, Section 371.




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                                   COUNTS TWO—SEVEN
                             Violations of the Anti-Kickback Statute
                           (42 U.S.C. §§ 1320a-7b(b)(1)(B), (b)(2)(B))

        41.     The Grand Jury re-alleges and incorporates by reference paragraphs 1-38 of this

Indictment.

        42.     Between approximately in or about late 2012 and at least in or about June 2019, in

the District of Massachusetts and elsewhere, the defendants,

                                      (1) KINGSLEY R. CHIN,
                                     (2) ADITYA HUMAD, and
                                    (3) SPINEFRONTIER, INC.,

did knowingly and willfully offer and pay remuneration to each Surgeon listed in the table below,

directly and indirectly, overtly and covertly, in cash and in kind, that is, bribes, to induce the

purchase of, lease of, order of, and arranging for use of, and recommendation of goods, services

and items, namely, SPINEFRONTIER spinal implants and products, for which payment may be

made in whole or in part by a Federal health care program.

  Count       Surgeon                                   Payments
                           Defendants offered and paid Surgeon 1 bribes totaling
    2         Surgeon 1    approximately $379,719, including a payment of $14,250 on or
                           about September 4, 2015.

                           Defendants offered and paid Surgeon 3 bribes totaling
    3         Surgeon 3    approximately $125,288, including a payment of $2,375 on or about
                           March 13, 2017.

                           Defendants offered and paid Surgeon 4 bribes totaling
    4         Surgeon 4    approximately $61,037, including a payment of $2,850 in or about
                           October 2015.

                           Defendants offered and paid Surgeon 5 bribes totaling
    5         Surgeon 5    approximately $35,625, including a payment of $4,750 on or about
                           January 19, 2016.

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Count      Surgeon                                    Payments
                         Defendants offered and paid Surgeon 6 bribes totaling
  6        Surgeon 6     approximately $911,938, including a payment of $40,000 on or
                         about April 30, 2019.

                         Defendants offered and paid Surgeon 7 bribes totaling
  7        Surgeon 7     approximately $978,831, including a payment of $21,375 on or
                         about July 6, 2018 and $40,000 on or about April 30, 2019.

      All in violation of Title 42, United States Code, Section 1320a-7b(b)(2)(B).




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                                        COUNT EIGHT
                            Conspiracy to Commit Money Laundering
                                       (18 U.S.C. § 1956(h))

       43.     The Grand Jury re-alleges and incorporates by reference paragraphs 1-38 of this

Indictment.

       44.     From approximately in or about September 2013 until at least in or about June 2019,

in the District of Massachusetts and elsewhere, the defendants,

                                       (1) KINGSLEY R. CHIN,
                                      (2) ADITYA HUMAD, and
                                     (3) SPINEFRONTIER, INC.,

conspired with each other and with others known and unknown to the Grand Jury to conduct and

attempt to conduct financial transactions, to wit, transferring and causing to be transferred, funds

to a corporation, Impartial Medical Expert, LLC, to pay, directly and indirectly, illegal bribes to

surgeon physicians, knowing that the property involved in such transactions represented the

proceeds of some form of unlawful activity, and which in fact involved the proceeds of specified

unlawful activity, that is, payment of remuneration, directly and indirectly, overtly and covertly,

in cash and in kind, that is, bribes, in violation of Title 42, United States Code, Section 1320a-

7b(b)(2)(B), and knowing that the transactions were designed, in whole and in part, to conceal and

disguise the nature, location, source, ownership, and control of the proceeds of specified unlawful

activity, in violation of Title 18, United States Code, Section 1956(a)(1)(B)(i).

              All in violation of Title 18, United States Code, Section 1956(h).




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       KICKBACK AND KICKBACK CONSPIRACY FORFEITURE ALLEGATIONS
                           (18 U.S.C. § 982(a)(7))

       45.     Upon conviction of one or more of the offenses set forth in Counts One through

Seven, the defendants,

                                       (1) KINGSLEY R. CHIN,
                                      (2) ADITYA HUMAD, and
                                     (3) SPINEFRONTIER, INC.,

shall forfeit to the United States, pursuant to Title 18, United States Code, Section 982(a)(7), any

property, real or personal, which constitutes or is derived, directly or indirectly, from gross

proceeds traceable to the offense.

       46.     If any of the property described in Paragraph 45, above, as being forfeitable

pursuant to Title 18, United States Code, Section 981(a)(7), as a result of any act or omission of

the defendants—

                       a. cannot be located upon the exercise of due diligence;

                       b. has been transferred or sold to, or deposited with, a third party;

                       c. has been placed beyond the jurisdiction of the Court;

                       d. has been substantially diminished in value; or

                       e. has been commingled with other property which cannot be divided
                          without difficulty;

it is the intention of the United States, pursuant to Title 18, United States Code, Section 982(b),

incorporating Title 21, United States Code, Section 853(p), to seek forfeiture of any other

property of the defendants up to the value of the property described in Paragraph 45 above.

       All pursuant to Title 18, United States Code, Section 982(a)(7).

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                    MONEY LAUNDERING FORFEITURE ALLEGATION
                              (18 U.S.C. § 982(a)(1))

       47.     Upon conviction of the offense set forth in Count Eight, the defendants,

                                   (1)     KINGSLEY R. CHIN,
                                  (2)      ADITYA HUMAD, and
                                 (3)      SPINEFRONTIER, INC.,

shall forfeit to the United States, pursuant to Title 18, United States Code, Section 982(a)(1),

any property, real or personal, involved in such offense, and any property traceable to such

property.

       48.     If any of the property described in Paragraph 47, above, as being forfeitable

pursuant to Title 18, United States Code, Section 982(a)(1), as a result of any act or omission of

the defendants—

               a. cannot be located upon the exercise of due diligence;

               b. has been transferred or sold to, or deposited with, a third party;

               c. has been placed beyond the jurisdiction of the Court;

               d. has been substantially diminished in value; or

               e. has been commingled with other property which cannot be divided without
                  difficulty;

it is the intention of the United States, pursuant to Title 18, United States Code, Section 982(b),

incorporating Title 21, United States Code, Section 853(p), to seek forfeiture of any other

property of the defendants up to the value of the property described in Paragraph 47 above.

       All pursuant to Title 18, United States Code, Section 982(a)(1).




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                                     /s/ Dawn M. King 4:22pm
